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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
NORFOLK DIVISION

 

Victor Gilrnore

 

vs. Civil/Crirninal Action No_ 2:18CV634
Results Unlirnited, lnc., et al.

 

FINANCIAL INTEREST DISCLOSURE STATEMENT

Pursuant to Local Rule 7.l of` the Eastern District of` Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel f`or

 

in the above captioned action, certifies that the following are parents, trusts, subsidiaries and/or
af`filiates of` said party that have issued shares or debt securities to the public or own rnore than
ten percent of` the stock of` the f`ollowing:

 

 

Or

Pursuant to Local Rule 7.l of` the Eastern District of` Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel f`or

 

in the above captioned action, certifies that the following are parties in the partnerships, general
or lirnited, or owners or members of` non-publicly traded entities such as LLCs or other closely
held entities:

 

 

Or

Pursuant to Local Rule 7.l of` the Eastern District of` Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualifications or recusal, the undersigned counsel f`or
Results Unlirnited, lnc.
in the above captioned action, certifies that there are no parents, trusts, subsidiaries and/ or
af`filiates of` said party that have issued shares or debt securities to the public.

 

March l, 2019 /s/Ronald S. Camer, VSB #87187

Date_ Signature of` Attorney or Litigant
Counsel for Results Unlirnited, lnc.

 

 

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